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                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                           Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                       Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND                                 Adversary Case No. 21-01167-abl
                                                      15   INTERNATIONAL SP,
                                                                                                                      STIPULATION TO EXTEND
                                                      16                         Plaintiff,                             DEADLINE TO OPPOSE
                                                                                                                    TECUMSEH-INFINITY MEDICAL
                                                      17   v.                                                         RECEIVABLES FUND, LP’S
                                                                                                                       MOTION FOR PARTIAL
                                                      18   TECUMSEH–INFINITY MEDICAL                                 SUMMARY JUDGMENT AS TO
                                                           RECEIVABLES FUND, LP,                                         DIRECT PURCHASE
                                                      19                                                                   RECEIVABLES
                                                                                Defendant.
                                                      20

                                                      21   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      22
                                                                               Counter-Claimant,                   Hearing Date: October 25, 2022
                                                      23
                                                           v.                                                      Hearing Time: 1:30 p.m.
                                                      24
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      25   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      26
                                                                                Counter-Defendant.
                                                      27

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                                                       1   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                       2   INTERNATIONAL SP,
                                                       3                          Counter-Claimant,
                                                       4   v.
                                                       5   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       6
                                                                                  Counter-Defendant.
                                                       7

                                                       8            HASelect-Medical Receivables Litigation Finance Fund International SP (“HASelect”), by

                                                       9   and through its undersigned counsel, and Tecumseh-Infinity Medical Receivables Fund, LP

                                                      10   (“Tecumseh”), by and through its undersigned counsel (each a “Party” and, collectively, the

                                                      11   “Parties”), hereby agree and stipulate as follows:
              1731 Village Center Circle, Suite 150




                                                      12            1.     On or about August 26, 2022, Tecumseh filed its Motion for Partial Summary
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   Judgment as to Direct Purchase Receivables [ECF No. 90] (the “Motion”);
                        (702) 471-7432




                                                      14            2.     The Motion is set for hearing for October 25, 2022 at 1:30 p.m.;

                                                      15            3.     In connection with the Motion, Tecumseh also filed a separate motion [ECF No. 95]

                                                      16   seeking to file “Exhibit I” to the Motion under seal. Exhibit I consists of approximately 450 pages

                                                      17   of records maintained by Debtor Infinity Capital Management, Inc. relating to the accounts

                                                      18   receivable that are the subject to the Motion that were not previously disclosed by the Debtor.

                                                      19   Exhibit I was served on counsel for HASelect on September 12, 2022;

                                                      20            4.     Pursuant to Local Rule 7056, unless the Court orders otherwise, HASelect is to file

                                                      21   its Opposition to the Motion within twenty-one (21) days after service of the Motion, making

                                                      22   HASelect’s Opposition to the Motion due on September 16, 2022 (the “Opposition Deadline”);

                                                      23            5.     Pursuant to Local Rule 7056, unless the Court orders otherwise, Tecumseh is to file

                                                      24   its reply to the Opposition within fourteen (14) days after service of the Opposition (the “Reply

                                                      25   Deadline”);

                                                      26            6.     Based on the foregoing and the extended amount of time that remains prior to the

                                                      27   hearing on the Motion, the Parties have agreed to extend the Opposition Deadline and the Reply

                                                      28   Deadline.

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                                                       1            ACCORDINGLY, IT IS HEREBY STIPULATED that the Opposition Deadline shall be
                                                       2   extended from September 16, 2022 to September 28, 2022.
                                                       3            IT IS FURTHER STIPULATED that the Reply Deadline will be due twenty-six (26) days
                                                       4   after service of the Opposition.
                                                       5            IT IS SO STIPULATED.
                                                       6
                                                           SHEA LARSEN                                  AKERMAN LLP
                                                       7

                                                       8   /s/ Bart K. Larsen, Esq.                     By: /s/ Michael D. Napoli, Esq.
                                                           Bart K. Larsen, Esq.                         MICHAEL D. NAPOLI, ESQ.
                                                       9   Nevada Bar No. 8538                          Pro hac vice
                                                           Kyle M. Wyant, Esq.                          2001 Ross Avenue, Suite 3600
                                                      10   Nevada Bar No. 14652                         Dallas, Texas 75201
                                                           1731 Village Center Circle, Suite 150        ARIEL E. STERN, ESQ.
                                                      11   Las Vegas, Nevada 89134                      Nevada Bar No. 8276
              1731 Village Center Circle, Suite 150




                                                      12                                                1635 Village Center Circle, Suite 200
                   Las Vegas, Nevada 89134




                                                           Attorneys for HASelect-Medical Receivables   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   Litigation Finance Fund International SP
                        (702) 471-7432




                                                                                                        and
                                                      14
                                                                                                        GARMAN TURNER GORDON LLP
                                                      15
                                                                                                        GERALD M. GORDON, ESQ.
                                                      16                                                WILLIAM M. NOALL, ESQ.
                                                                                                        7251 Amigo St., Suite 210
                                                      17                                                Las Vegas, Nevada 89119
                                                      18                                                Attorneys for Tecumseh–Infinity Medical
                                                                                                        Receivable Fund, LP
                                                      19

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                                                                                            CERTIFICATE OF SERVICE
                                                       1
                                                                    1.   On September 15, 2022, I served the following document(s): STIPULATION TO
                                                       2                 EXTEND DEADLINE TO OPPOSE TECUMSEH-INFINITY MEDICAL
                                                                         RECEIVABLES FUND, LP’S MOTION FOR PARTIAL SUMMARY
                                                       3                 JUDGMENT AS TO DIRECT PURCHASE RECEIVABLES
                                                       4            2.   I served the above document(s) by the following means to the persons as listed
                                                                         below:
                                                       5
                                                                         ☒      a.       ECF System:
                                                       6
                                                                         CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                       7                 clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       8                 GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                                         RECEIVABLES FUND, LP
                                                       9                 ggordon@gtg.legal, bknotices@gtg.legal
                                                      10                 MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                                                                         RECEIVABLES FUND, LP
                                                      11                 michael.napoli@akerman.com,
              1731 Village Center Circle, Suite 150




                                                                         cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras
                                                      12                 @akerman.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                         ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL
                                                                         RECEIVABLES FUND, LP
                                                      14                 ariel.stern@akerman.com, akermanlas@akerman.com
                                                      15                 ☐      b.       United States mail, postage fully prepaid:
                                                      16                 ☐      c.       Personal Service:
                                                      17                 I personally delivered the document(s) to the persons at these addresses:
                                                      18                                 ☐       For a party represented by an attorney, delivery was made by
                                                                         handing the document(s) at the attorney’s office with a clerk or other person in
                                                      19                 charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                                         in the office.
                                                      20
                                                                                         ☐       For a party, delivery was made by handling the document(s)
                                                      21                 to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                                         place of abode with someone of suitable age and discretion residing there.
                                                      22
                                                                         ☐       d.      By direct email (as opposed to through the ECF System):
                                                      23                 Based upon the written agreement of the parties to accept service by email or a
                                                                         court order, I caused the document(s) to be sent to the persons at the email
                                                      24                 addresses listed below. I did not receive, within a reasonable time after the
                                                                         transmission, any electronic message or other indication that the transmission was
                                                      25                 unsuccessful.
                                                      26                 ☐      e.       By fax transmission:
                                                      27                 Based upon the written agreement of the parties to accept service by fax
                                                                         transmission or a court order, I faxed the document(s) to the persons at the fax
                                                      28

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                                                                        numbers listed below. No error was reported by the fax machine that I used. A copy
                                                       1                of the record of the fax transmission is attached.
                                                       2                ☐      f.       By messenger:
                                                       3                I served the document(s) by placing them in an envelope or package addressed to
                                                                        the persons at the addresses listed below and providing them to a messenger for
                                                       4                service.
                                                       5                I declare under penalty of perjury that the foregoing is true and correct.
                                                       6                Dated: September 15, 2022.
                                                       7                                                By: /s/ Bart K. Larsen, Esq,
                                                       8

                                                       9

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                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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